
37 F.Supp. 237 (1940)
In re ERIE R. CO.
No. 45839.
District Court, N. D. Ohio, E. D.
December 17, 1940.
*238 *239 *240 *241 *242 *243 *244 *245 *246 *247 *248 *249 *250 *251 *252 *253 *254 *255 *256 *257 *258 *259 Chester F. Leonard (of Davis, Polk, Wardwell, Gardiner &amp; Reed), of New York City, for Erie R. Co. and Nypano R. Co., debtors.
*260 H. A. Taylor, of Cleveland, Ohio, for Trustees of property of Erie R. Co. and Trustees of property of Nypano R. Co.
Edward W. Bourne and Andrew Oliver (of Alexander &amp; Green), both of New York City and Clare M. Vrooman and Francis J. Amer (of Garfield, Cross, Daoust, Baldwin &amp; Vrooman), both of Cleveland, Ohio, for Group of Refunding and Improvement Mortgage Bondholders, acting under agreement dated February 18, 1938.
Edward E. Watts, Jr. (of Mitchell, Taylor, Capron &amp; Marsh), of New York City, and Russell C. Grahame (of McAfee, Grossman, Hanning &amp; Newcomer), of Cleveland, Ohio, for City Bank Farmers Trust Co., Trustee under First Consolidated Mortgage.
Jervis Langdon, Jr., of Cleveland, Ohio, for Chesapeake &amp; O. Ry. Co.
A. Marvin Braverman, of Washington, D. C., for Reconstruction Finance Corporation.
Frank Wiedemann, Asst. U.S. Atty., of Cleveland, Ohio, for United States Employees' Compensation Commission.
Willard P. Scott (of Oliver &amp; Donnally), of New York City, for Mutual Savings Bank Group Committee.
Richard J. Mackey, of New York City, for Anna Petkewicz, adm'x.
George G. Reynolds (of Winthrop, Stimson, Putnam &amp; Roberts), of New York City, and Ernest C. Dempsey (of Squire, Sanders &amp; Dempsey), of Cleveland, Ohio, for Guaranty Trust Co., Trustee under Erie R. Co. General Mortgage, Erie &amp; Jersey R. Co. First Mortgage, and Genesee River R. Co. Mortgage.
Kingsley Taft (of McKeehan, Merrick, Arter &amp; Stewart), of Cleveland, Ohio, for Chase Nat. Bank of New York, Trustee under New York &amp; Erie R. Co. Third Mortgage.
Louis M. Stevens (of Stradley, Ronon &amp; Stevens), of Philadelphia, Pa., for Bondholders Protective Committee for Refunding and Improvement Mortgage 5% Bonds of Erie R. Co.
John T. Scott and Brooks W. Mccracken (of M. B. &amp; H. H. Johnson), both of Cleveland, Ohio, for Commercial National Bank &amp; Trust Co. of New York, temporary successor trustee under New York &amp; Erie R. Co. Second Mortgage.
Frank L. Pinola, of Wilkes-Barre, Pa., and Lawson Barnes, of Syracuse, N. Y., for Miners Savings Bank of Pittston and Bondholders Protective Committee for General Mortgage Convertible 4% Bonds of Erie R. Co.
W. Lloyd Kitchel (of Cadwalader, Wickersham &amp; Taft), of New York City, and William H. Bemis (of Baker, Hostetler &amp; Patterson), of Cleveland, Ohio, for Bankers Trust Co., Trustee under Refunding and Improvement Mortgage.
Jerome C. Fisher (of Thompson, Hine &amp; Flory), of Cleveland, Ohio, for National City Bank of Cleveland, Trustee under New York, P. &amp; O. Prior Lien Mortgage.
WILKIN, District Judge.
This cause came on for hearing on the Proposed Plan of Reorganization and the Report of the Special Master (October 19, 1940) regarding objections to the Plan of Reorganization.
For the reasons set forth in such report of the special master, the court overrules the objections and exceptions and confirms and approves the master's report.
On consideration of the plan, the court finds that it complies with the law and is fair and equitable; that the approximate amounts to be paid for expenses and fees incident to the reorganization have been fully disclosed so far as they could at the time be ascertained and, within limits fixed by the Commission, are reasonable.
The court is therefore of opinion that the Plan of Reorganization of the Erie Railroad Company and the Nypano Railroad Company should be approved.
